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                   Thomas-Jensen
                    Affirmation



                      Exhibit # 120
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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND



   STATE OF NEW YORK; et al.,

                  Plaintiffs,

          v.                                                C.A. No. 1:25-cv-00039-JJM-PAS

   DONALD TRUMP, in his official capacity as
   President of the United States; et al.,

                  Defendants.



                   DECLARATION OF DOROTA GREJNER-BRZEZINSKA
                 I, Dorota Grejner-Brzezinska, declare as follows:

         1.      I am a resident of the State of Wisconsin. I am over the age of 18 and have personal

  knowledge of all the facts stated herein, except to those matters stated upon information and belief;

  as to those matters, I believe them to be true. If called as a witness, I could and would testify

  competently to the matters set forth below.

         2.      I am currently employed by the University of Wisconsin–Madison (UW–Madison)

  as its Vice Chancellor for Research. UW–Madison, the flagship institution of the University of

  Wisconsin System, is a public land-grant university, enrolling over 52,000 students. As the Vice

  Chancellor for Research, I have responsibility for overseeing the UW–Madison research enterprise

  with more than $1.7 billion in annual research expenditures. My office also includes administration

  of 20 cross-campus research and service centers. The mission of the Office of the Vice Chancellor

  for Research is to advance excellence in research and scholarship, to support our multidisciplinary

  research centers and institutes, and to provide campus-wide administrative infrastructure to

  support and advance the research enterprise.

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         3.      UW–Madison’s research enterprise is significantly bolstered by federal funding,

  which is essential for advancing innovation and addressing complex societal challenges. In the

  fiscal year 2022–2023, of the more than $1.7 billion in total research expenditures, nearly half of

  this amount—over $952 million—was sourced from federal awards. Approximately 25% of UW-

  Madison’s annual budget is derived from federal sources, underscoring the critical role these funds

  play in supporting UW–Madison’s research initiatives. The below table reflects federal research

  awards to UW–Madison for 2022-2023, by agency.



                           Federal Research Awards by Agency
                             (Millions of Dollars)
                                   Agency                 2022-23
                    Dept of Agriculture                        77.1
                    Dept of Commerce                           23.1
                    Dept of Defense                            59.1
                    Dept of Energy                             91.7
                    Dept of Health and Human Services           513
                    NASA                                       15.4
                    National Science Foundation               129.7
                    Other Agencies                             43.3
                                                   Total      952.4


         4.      While not comprehensive, below is a summary of some of the important research

  being done at UW–Madison with the support of this federal funding:

         U.S. Department of Agriculture (USDA)

         The USDA funds research focused on agriculture, food security, rural development, and

  environmental sustainability. At UW–Madison, this includes advancements in dairy science, crop

  resilience, precision agriculture, and sustainable farming practices. Wisconsin is a national leader

  in dairy and agricultural production, and UW–Madison plays a vital role in supporting farmers and

  agribusinesses through cutting-edge research and extension services. USDA-funded projects help

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  Wisconsin’s farming communities remain competitive, resilient, and sustainable in the face of

  economic and environmental challenges.


         U.S. Department of Commerce (DOC)

         The DOC, through agencies like the National Institute of Standards and Technology

  (NIST) and the National Oceanic and Atmospheric Administration (NOAA), funds research in

  technology, manufacturing, and Earth science. At UW–Madison, this includes work on precision

  manufacturing, artificial intelligence, weather forecast improvement, and economic development.

  Wisconsin has a strong manufacturing sector and a history of leadership in studying weather,

  climate and natural disasters. DOC-funded research at UW–Madison supports local industries by

  driving innovation in smart manufacturing and economic growth, while NOAA-funded studies

  help Wisconsin communities prepare for extreme weather and environmental shifts.


         U.S. Department of Defense (DoD)

         The DoD funds research in national security, defense technology, and medical

  advancements. At UW–Madison, projects include cybersecurity, artificial intelligence, materials

  engineering, and treatments for traumatic brain injuries (TBIs) affecting professional athletes and

  military service members. DoD-funded projects drive interdisciplinary collaboration between

  engineering, computer science, and medical research at UW–Madison. UW–Madison’s expertise

  in AI, bioengineering, and rehabilitation medicine contributes to life-saving advancements for

  service members, while fostering partnerships with industry and government.


         U.S. Department of Energy (DOE)

         The DOE supports research in renewable energy, nuclear science, materials science, and

  high-performance computing. UW–Madison ranks among the top institutions in DOE-funded

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  research, with work in fusion energy, battery storage, grid modernization, and across sectors that

  strengthen the country’s energy future. As a leader in energy research, UW–Madison is at the

  forefront of developing next-generation power systems and technologies. DOE-funded projects in

  fusion energy, advanced materials, and energy storage position UW-Madison as a key player in

  the country’s energy transition, also benefiting Wisconsin’s energy sector and workforce.


         U.S. Department of Health and Human Services (HHS)

         HHS, primarily through the National Institutes of Health (NIH), funds biomedical and

  public health research. UW–Madison is a leader in Alzheimer’s disease research, cancer research,

  neuroscience, infectious disease studies, and vaccine development. UW–Madison’s world-class

  biomedical research centers drive breakthroughs in cancer treatment, neuroscience, and infectious

  diseases. HHS funding supports faculty and students working on life-changing medical

  discoveries, while fostering collaborations with Wisconsin hospitals and biotech industries, and

  serving Wisconsin’s rural communities


         National Aeronautics and Space Administration (NASA)

         NASA funds research in astronomy, space exploration, Earth and atmospheric science, and

  aeronautics. UW–Madison contributes to Earth observation satellite missions, planetary science,

  astrophysics, and space technology development. UW–Madison has a long history of partnership

  with NASA in astrophysical research and satellite-based monitoring, including the impact of

  wildfires and tropical storm forecasting. NASA-funded projects allow UW–Madison scientists to

  analyze global environmental changes, while also engaging students in space-related innovation

  and discovery.




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         National Science Foundation (NSF)

         The NSF supports basic and applied research across all scientific and engineering

  disciplines. At UW–Madison, NSF funding drives advances in artificial intelligence, quantum

  computing, engineering innovations, biological science and nanotechnology. NSF grants support

  early-stage research that often leads to major scientific breakthroughs. These funds help UW–

  Madison attract top faculty, train the next generation of scientists, and push the boundaries of

  knowledge in key fields like AI and quantum computing.


         5.      While UW–Madison is not able precisely forecast future federal research funding,

  such funding to UW–Madison has increased year-over-year over the last approximately decade.

  In fiscal year 2025, UW–Madison is averaging $18.8 million in average weekly expenditures on

  federally-funded projects. For the month of January 2025, UW–Madison was scheduled to receive

  total disbursements of $61.8 million under our current federal awards for funds obligated and

  expended. Of this amount, we have drawn and received $45.5 million, have drawn and have yet to

  receive $4.2 million, and have yet to draw $12.1 million.

         6.      The implementation of the (now-rescinded) Office of Management and Budget

  “pause” memorandum M-25-13 (OMB Memo), citing various Executive Orders, had a direct and

  adverse effect on UW–Madison’s research operations. UW–Madison’s ability to continue to

  provide full employee salaries, provide instruction to students, and continue pursuing scientific

  research is contingent upon anticipated receipt of federal funding and the prompt payment on

  expenditures incurred during the course of research projects funded by the federal government.

         7.      UW–Madison’s Office of Research and Sponsored Programs, which is within my

  purview, recently received a number of notifications from federal agencies purporting to pause

  certain work being conducted under federal grants and awards that cited as authority various recent

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  Executive Orders, the OMB Memo, or both. In most instances, the notices did not identify specific

  awards that were subject to the communication, or identify with sufficient specificity the activity

  that needed to cease. Rather, the communications purported to put the burden on UW–Madison to

  immediately determine the applicability of the agency guidance, Executive Orders, or OMB Memo

  across a large portfolio of projects funded by the agency, without clear direction from the agency,

  at the risk of not being reimbursed for any undefined activity not immediately halted. Examples

  include:

     •   On January 23, 2025, UW-Madison received a “Memorandum for NASA Contractor and
         Grantee Community,” described as being issued to implement the requirements of the EO
         entitled Initial Rescissions of Harmful Executive Orders and Actions and a subsequent
         Office of Personnel Management memorandum issued on January 21, 2025 entitled Initial
         Guidance Regarding DEIA Executive Orders, directing NASA Contractors and Grantees
         immediately to “cease and desist all DEIA activities required of their contracts or
         grants...including but not limited to: DEIA plan requirement, training, reporting,
         considerations for staffing, or any other direct or indirect contract or grant activity.”
         (Memorandum for NASA Contractor and Grantee Community from Karla Smith Jackson
         (Jan. 23, 2025), attached hereto as Exhibit A.) NASA provided no definition of “DEIA”
         activities, and rather than identify activities on specific awards or contracts that it
         considered to fall within this purview, NASA purported to place this responsibility on
         Contractors and Grantees, directing them to notify NASA if they identified requirements
         within their grants or contracts in violation of NASA’s guidance. In a subsequent
         communication dated January 29, 2025, NASA reiterated earlier directives to grant and
         cooperative agreement recipients but provided no further clarification on what it meant by
         “DEIA” activities. (Email to NASA Grantees on DEIA EOs from NASA (Jan. 29, 2025),
         attached hereto as Exhibit B.) UW–Madison currently has 218 NASA-funded projects.

     •   On January 27, 2025, the Department of Energy (DOE) issued a memorandum “for all
         DOE funding agreements or awards” citing the Executive Order entitled Ending Radical
         and Wasteful Government DEI Programs and Preferencing as the basis for its directive
         that “Recipients and subrecipients must cease any activities, including contracted activities,
         and stop incurring costs associated with DEI and CBP activities effective as of the date of
         this letter for all DOE grants, cooperative agreements, loans, loan guarantees, cost sharing
         agreements, or other DOE funding of any kind.” (Memorandum for All DOE Funding
         Agreements or Awards from Sarah Wilson (Jan. 27, 2025), attached hereto as Exhibit C.)
         DOE indicated that “[c]osts incurred after the date of this letter will not be reimbursed.”
         DOE provided no definition of what it considered to be encompassed by “DEI programs
         and activities involving or related to DEI objectives and principles” or “Community
         Benefits Plans” or “Justice40 requirements, conditions, or principles.” UW–Madison
         currently has 325 projects supported by DOE funding.

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     •   On January 28, 2025, NSF sent a message to the NSF PI Community citing OMB
         Memorandum M-25-13 as a basis for pausing all review panels, new awards, and payments
         of funds under open awards. (Message to the NSF PI Community from U.S. National
         Science Foundation (Jan. 28, 2025), attached hereto as Exhibit D.) NSF’s communication
         went on to inform NSF grantees that they “must comply with these Executive Orders, and
         any other relevant Executive Orders issued, by ceasing all non-compliant grant and award
         activities.” NSF indicated that its directive included, but was not limited to “conferences,
         trainings, workshops, considerations for staffing and participant selection, and any other
         grant activity that uses or promotes the use of DEIA principles and frameworks or violates
         Federal anti-discrimination laws.” NSF’s guidance directed principal investigators to
         “work with your institutional research office to assist you in complying with the Executive
         Orders” but did not provide additional guidance to UW–Madison’s institutional research
         office as to what activities NSF understood its guidance to prohibit.

     •   On January 29, 2025, the Centers for Disease Control and Prevention (CDC) sent a
         notification to UW-Madison indicating that, to implement Executive Orders entitled
         Ending Radical and Wasteful Government DEI Programs and Preferencing and Initial
         Rescissions of Harmful Executive Orders and Action, UW–Madison was required to
         “immediately terminate, to the maximum extent, all programs, personnel, activities, or
         contracts promoting ‘diversity, equity, and inclusion’ (DEI) at every level and activity...
         that are supported with funds from this award.” (Email and Memorandum from Shirley K.
         Bird to “Cease DEI Activities on CDC Awards” (Jan. 29, 2025), attached hereto as Exhibit
         E.) The notice was not sent with reference to any particular grant, contract, or other award
         managed by UW-Madison. Moreover, neither the CDC notification nor the referenced
         Executive Orders provide a definition of “DEI” or guidance on the types of programs or
         activities that “promote” DEI and should be terminated. The CDC sent an additional
         notification to UW-Madison on January 31, 2025, with the subject “Cease Gender Ideology
         Activities on CDC Awards.” (Email and Memorandum from Angie Willard, “Cease
         Gender Ideology Activities on CDC Awards” (Jan. 31, 2025), attached hereto as Exhibit
         F.) This notice directed UW–Madison to “immediately terminate, to the maximum extent,
         all programs, personnel, activities, or contracts promoting or inculcating gender ideology
         at every level and activity, regardless of your location or the citizenship of employees or
         contractors, that are supported with funds from this award,” citing the Executive Order
         entitled Defending Women From Gender Ideology Extremism And Restoring Biological
         Truth To The Federal Government as well as the OPM’s January 29, 2025, Memorandum
         to Heads and Acting Heads of Departments and Agencies: Initial Guidance Regarding
         President Trump’s Executive Order Defending Women. That Executive Order states that:

                “Gender ideology” replaces the biological category of sex with an ever-
                shifting concept of self-assessed gender identity, permitting the false
                claim that males can identify as and thus become women and vice versa,
                and requiring all institutions of society to regard this false claim as true.
                Gender ideology includes the idea that there is a vast spectrum of genders
                that are disconnected from one’s sex. Gender ideology is internally
                inconsistent, in that it diminishes sex as an identifiable or useful category

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                but nevertheless maintains that it is possible for a person to be born in
                the wrong sexed body.

         The CDC did not provide guidance on what it means for a program to “promote” or
         “inculcate” “gender ideology.” UW–Madison currently receives funding on 101 CDC
         awards.

     •   On January 23, 2025, the U.S. Department of Labor (DOL) provided to UW-Madison a
         statement that it was “reviewing all active federal awards and [would] take appropriate
         action, including terminating the award, consistent with the requirements of the Executive
         Orders titled ‘Ending Radical and Wasteful Government DEI Programs and Preferencing,’
         issued on January 20, 2025, and ‘Ending Illegal Discrimination and Restoring Merit-Based
         Opportunity,’ issued on January 21, 2025.” (Department of Labor DEI Cease Work
         Statement (Jan. 23, 2025), attached hereto as Exhibit G.) The statement directed all
         recipients of federal financial assistance to “all activities related to ‘diversity, equity, and
         inclusion’ (DEI) or ‘diversity, equity, inclusion, and accessibility’ (DEIA) under their
         federal awards,” consistent with the Executive Orders, adding that “cost incurred on such
         activities, after the issuance of this notice, will not be considered allowable, and if incurred
         will be disallowed.” DOL suggested that additional guidance was forthcoming, but UW–
         Madison is, at present, unaware of any such guidance.

         8.     UW-Madison has received communications from several agencies regarding the

  existence of the TRO entered by the Court on January 31, 2025. Such communications have not

  described the impact of the TRO on earlier directives from the agencies regarding cessation of

  activities on the basis of recent Executive Orders and OMB Memorandum. For example, on

  February 2, 2025, NSF sent a message regarding the TRO, providing information about availability

  of its Award Cash Management Service, and directing recipients to FAQs on its Executive Order

  Implementation webpage. (Message to the NSF PI Community from U.S. National Science

  Foundation (Feb. 2, 2025), attached hereto as Exhibit H.). The NSF guidance issued after the TRO

  from NSF does not mention NSF’s earlier directive to cease all grant and award activities not

  compliant with the Executive Orders. To date, this is consistent with communications from other

  agencies.

         9.     The recent federal funding freeze created significant uncertainty for UW–

  Madison’s research enterprise, with federal agencies providing mixed messages regarding their

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  National Aeronautics and Space Administration

  Mary W. Jackson NASA Headquarters
  Washington, DC 20546-0001




                                                                                January 23, 2025

  MEMORANDUM FOR NASA CONTRACTOR AND GRANTEE COMMUNITY

  SUBJECT: Initial Guidance Regarding Diversity, Equity, Inclusion,
  Accessibility (DEIA) Executive Orders


  On January 20, 2025, the President of the United States of America signed an Executive
  Order (E.O.) titled, “Initial Rescissions of Harmful Executive Orders and Actions”, which
  repeals Executive Order 14035, Diversity, Equity, Inclusion and Accessibility in the Federal
  Workforce”. The U.S. Office of Personnel Management (OPM) issued a memorandum, dated
  January 21, 2025, titled, “Initial Guidance Regarding DEIA Executive Orders” to federal
  agencies.

  To implement the E.O. requirements, OPM directed federal agencies to take immediate
  action to identify and terminate DEIA initiatives and programs and remove final or pending
  documents, directives, orders, materials, and equity plans issued in response to the now-
  repealed Executive Order 14035, Diversity, Equity, Inclusion and Accessibility (DEIA) in
  the Federal Workforce (June 25, 2021). To date, the following directions are provided:

  Contracts and Grants. NASA Contractors and Grantees immediately shall cease and desist
  all DEIA activities required of their contracts or grants. In accordance with FAR 52.242-15,
  Stop Work clause, a stop work order may have been issued to stop all or any part of the
  DEIA related activity. Additionally, FAR 52.249, Terminations clause modifications may
  also be issued to implement this change. This work may include but is not limited to: DEIA
  plan requirement, training, reporting, considerations for staffing, or any other direct or
  indirect contract or grant activity. All Contractors and Grantees shall notify their Contracting
  Officer or Grant Officer if they identify requirements within their contracts or grants that are
  in violation this guidance.

  Guidance. Consistent with the DEIA E.O. and the Regulatory Freeze Pending Review E.O,
  additional guidance will be issued to further implement the executive order requirements,
  such as updating and removing DEIA related policy guidance in the NASA FAR
  Supplement, Grant and Cooperative Agreement Manual, Grant and Cooperative Agreement
  Procedures, and the Grant and Cooperative Agreement Terms and Conditions.

  Websites, social media, accounts, etc. NASA Office of Procurement has removed external
  and internal facing contract and grant websites that include DEIA related policies and
  documents, and these website were taken offline as of 5pm January 22, per OPM guidance.
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  We endeavor to keep our NASA contractor and grantee community informed. As additional
  guidance becomes available, NASA Contracting Officers or Grant Officers will be contacting
  your organization to discuss necessary contract or grant modifications required to comply
  with the Executive Orders. To ensure efficient lines of communication are available we ask
  companies to actively engage with their cognizant Contracting officer or Grant Officer
  regarding the removal of DEIA activities as it pertains to their contract or grant award. 1
  Please contact your cognizant Contracting Officer or Grant Officer if you have any questions
  regarding this memorandum.

  I appreciate your cooperation and continued commitment to supporting NASA’s mission.

  Karla Smith Digitally  signed by Karla
                 Smith Jackson

  Jackson        Date: 2025.01.23
                 15:04:42 -05'00'

  Karla Smith Jackson
  Assistant Administrator for Procurement




  1
      Grant includes cooperative agreement as defined in 2 CFR 200.
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Jennifer Rodis

From:                            NSSC-PR-Correspondence <nssc-pr-correspondence@mail.nasa.gov>
Sent:                            Wednesday, January 29, 2025 12:43 PM
To:                              RSP - Info
Subject:                         Message for NASA Grantees on DEIA EOs

Importance:                      High



Dear NASA Grants Community

On January 23, 2025, NASA’s Office of Procurement (OP) released a memorandum for the NASA contractor
and grant community regarding Executive Order “Initial Recission of Harmful Executive Orders and Actions”
and the Office of Personnel Management’s (OPM) memorandum “Initial Guidance Regarding DEIA Executive
Orders.”

Per OP’s memo, NASA grant and cooperative agreement recipients shall immediately cease and desist all DEIA
activities required for their award. This work may include but is not limited to: DEIA plan requirements,
training, workshops, reporting, considerations for staffing, or any other direct or indirect grant activity related to
DEIA. All grant recipients shall notify their cognizant Grant Officer if they identify requirements within their
awards that are in violation of this guidance. Your Grant Officer’s contact information can be found on your NF
1687, Notice of Award for Grant and Cooperative Agreement (NOA).

Thank you for your work and partnership with NASA.




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                                            EERE T 540.127-01: Selection Notification Letter –
                                                                         Award Negotiations
                                   Department of Energy
                                       Golden Field Office
                                   15013 Denver West Parkway
                                        Golden CO 80401


                                          January 27, 2025

MEMORANDUM FOR ALL DOE FUNDING AGREEMENTS OR AWARDS

FROM:          SARA WILSON                                                         Digitally signed by
               ACQUISITION DIRECTOR                            Sara                Sara Wilson
               ACTING HEAD OF CONTRACTING ACTIVITY                                 Date: 2025.01.27
               ENERGY EFFICIENCY & RENEWABLE ENERGY            Wilson              12:48:28 -07'00'

SUBJECT:       Cease all activities associated with DEI and CBP

The President has issued 43 Executive Orders, Presidential Memoranda, and Proclamations,
including an Executive Order entitled Ending Radical and Wasteful Government DEI Programs
and Preferencing. DOE is moving aggressively to implement this Executive Order by directing
the suspension of the following activities in any loans, loan guarantees, grants, cost sharing
agreements, contracts, contract awards, or any other source of DOE funding:

        භ diversity, equity, and inclusion (DEI) programs and activities involving or relating to
          DEI objectives and principles; and
        භ Community Benefits Plans (CBP); and
        භ Justice40 requirements, conditions, or principles.

Recipients and subrecipients must cease any activities, including contracted activities, and stop
incurring costs associated with DEI and CBP activities effective as of the date of this letter for all
DOE grants, cooperative agreements, loans, loan guarantees, cost sharing agreements, or other
DOE funding of any kind. Recipients are responsible for communicating and enforcing this
direction with all subrecipients and contractors. Costs incurred after the date of this letter will
not be reimbursed. This letter will be incorporated into your award with the next modification.

Additional guidance will be forthcoming. Recipients who have DEI and CBP activities in their
awards will be contacted by their Grants Officer to initiate award modifications consistent with
this Order.
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Jennifer Rodis

From:                            U.S. National Science Foundation <grants_conference@nsf.gov>
Sent:                            Tuesday, January 28, 2025 3:36 PM
To:                              Jennifer Rodis
Subject:                         Message to the NSF PI Community




              Dear Colleagues;
              
              The Office of Management and Budget (OMB) Memorandum M-25-13, issued on
              January 27, 2025, directs all Federal agencies to conduct a comprehensive review of
              their financial assistance programs to determine programs, projects, and activities
              that may be implicated by the recent Executive Orders. Therefore, all review panels,
              new awards, and all payments of funds under open awards will be paused as the
              agency conducts the required reviews and analysis. NSF has created an *]JHZYN[J
              4WIJW.RUQJRJSYFYNTS\JGUFLJ to ensure the widest dissemination of information and
              updates. We will continue to communicate with you as we receive additional
              guidance.
              
              All NSF grantees must comply with these Executive Orders, and any other relevant
              Executive Orders issued, by ceasing all non-compliant grant and award activities.
              Executive Orders are posted at MYYUX\\\\MNYJMTZXJLT[UWJXNIJSYNFQFHYNTSX. In
              particular, this may include, but is not limited to conferences, trainings, workshops,
              considerations for staffing and participant selection, and any other grant activity that
              uses or promotes the use of DEIA principles and frameworks or violates Federal anti-
              discrimination laws. Please work with your institutional research office to assist you in
              complying with the Executive Orders. You can also direct your questions through the
              form on this NSF \JGUFLJ. 
              
              Thank you for your work advancing science, engineering, technology and innovation
              for our nation. 
              
              Sethuraman Panchanathan
              Director

                            Policy Outreach Website | Resource Center | Update Notifications
                                        Event QuestionsaPolicy Office Questions




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      Davis Management Group on behalf of the U.S. National Science Foundation | 2415
                       Eisenhower Ave | Alexandria, VA 22314 US

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From:           Byrd, Shirley K. (CDC/OCOO/OFR/OGS)
To:             PRISM (CDC)
Subject:        Cease DEI Activities on CDC Awards
Date:           Wednesday, January 29, 2025 12:34:34 PM
Attachments:    DEI - Restrictions (Domestic).pdf



Please review the attached notification and take immediate necessary actions.
Questions should be sent to PRISM@cdc.gov.
Thank you!
Office of Grant Services
Centers for Disease Control & Prevention
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January 29, 2025



Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government foreign assistance funds.

To implement Executive Orders entitled Ending Radical and Wasteful Government DEI Programs and
Preferencing and Initial Rescissions of Harmful Executive Orders and Action, you must immediately
terminate, to the maximum extent, all programs, personnel, activities, or contracts promoting “diversity,
equity, and inclusion” (DEI) at every level and activity, regardless of your location or the citizenship of
employees or contractors, that are supported with funds from this award. Any vestige, remnant, or re-
named piece of any DEI programs funded by the U.S. government under this award are immediately,
completely, and permanently terminated.

No additional costs must be incurred that would be used to support any DEI programs, personnel, or
activities.

If you are a global recipient and have previously received this notification regarding DEI activities, please
follow those instructions accordingly.
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         WI Decl. of Grejner-Brzezinska,
                Ex. F - 2.5.2025
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From:           Willard, Angie (CDC/OCOO/OFR/OGS)
To:             PRISM (CDC)
Cc:             PRISM (CDC)
Subject:        Cease Gender Ideology Activities on CDC Awards
Date:           Friday, January 31, 2025 3:59:05 PM
Attachments:    recipient_notification_gender.pdf



Please review the attached notification and take immediate necessary actions.
Questions should be sent to PRISM@cdc.gov.
Thank you!
Office of Grant Services
Centers for Disease Control & Prevention
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Dear Recipient:

This Centers for Disease Control and Prevention (CDC) award is funded in whole or in part with United
States Government funds.

To implement the Executive Order entitled Defending Women From Gender Ideology Extremism And
Restoring Biological Truth To The Federal Government (Defending Women From Gender Ideology
Extremism And Restoring Biological Truth To The Federal Government – The White House), and in
accordance with Office of Personnel Management’s Initial Guidance (Memorandum to Heads and Acting
Heads of Departments and Agencies: Initial Guidance Regarding President Trump’s Executive Order
Defending Women), you must immediately terminate, to the maximum extent, all programs, personnel,
activities, or contracts promoting or inculcating gender ideology at every level and activity, regardless of
your location or the citizenship of employees or contractors, that are supported with funds from this
award. Any vestige, remnant, or re-named piece of any gender ideology programs funded by the U.S.
government under this award are immediately, completely, and permanently terminated.

No additional costs must be incurred that would be used to support any gender ideology programs,
personnel, or activities.

Any questions should be directed to PRISM@cdc.gov
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OPEN/CLOSED FOAs

        The U.S. Department of Labor is reviewing all Funding Opportunity Announcements for
consistency with the Executive Orders titled, “Ending Radical and Wasteful Government DEI
Programs and Preferencing,” issued on January 20, 2025, and “Ending Illegal Discrimination and
Restoring Merit-Based Opportunity,” issued on January 21, 2025. The Department will take
necessary action with the Funding Opportunity Announcement and issue additional guidance
including adjusting the close date if appropriate.


ONGOING WORK

         Effective immediately, all recipients of federal financial assistance are directed to cease
all activities related to “diversity, equity, and inclusion” (DEI) or “diversity, equity, inclusion,
and accessibility” (DEIA) under their federal awards, consistent with the requirements of the
Executive Orders titled, “Ending Radical and Wasteful Government DEI Programs and
Preferencing,” issued on January 20, 2025, and “Ending Illegal Discrimination and Restoring
Merit-Based Opportunity,” issued on January 21, 2025. Any cost incurred on such activities,
after the issuance of this notice, will not be considered allowable, and if incurred will be
disallowed. Additional guidance will be provided.


TERMINATION

       The U.S. Department of Labor is reviewing all active federal awards and will take
appropriate action, including terminating the award, consistent with the requirements of the
Executive Orders titled “Ending Radical and Wasteful Government DEI Programs and
Preferencing,” issued on January 20, 2025, and “Ending Illegal Discrimination and Restoring
Merit-Based Opportunity,” issued on January 21, 2025.
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         WI Decl. of Grejner-Brzezinska,
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Jennifer Rodis

From:                            U.S. National Science Foundation <grants_conference@nsf.gov>
Sent:                            Sunday, February 2, 2025 11:27 AM
To:                              Jennifer Rodis
Subject:                         Message to the NSF PI Community




              Dear Colleagues;

              On Friday, January 31, 2025, a Federal Court issued a Temporary Restraining Order
              (TRO) directing Federal grant-making agencies, including the National Science
              Foundation (NSF), to “...not pause, freeze, impede, block, cancel, or terminate...
              awards and obligations to provide federal financial assistance to the States, and... not
              impede the States’ access to such awards and obligations, except on the basis of the
              applicable authorizing statutes, regulations, and terms.” Although the language of the
              TRO is directed at State institutions, the Department of Justice has determined that it
              applies to all NSF award recipients. You can review the TRO MJWJ.

              In order to comply with the TRO, the NSF Award Cash Management Service (ACM$)
              system is available for awardees to request payments as of 12:00pm EST, February 2,
              2025.

              This message is also available on the *]JHZYN[J4WIJW.RUQJRJSYFYNTS\JGUFLJ. Please
              check back regularly as we add frequently asked questions (FAQs) based on
              community feedback.

              Sethuraman Panchanathan
              Director

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                  Davis Management Group on behalf of the U.S. National Science Foundation | 2415
                                   Eisenhower Ave | Alexandria, VA 22314 US



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